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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 HIAWATHA CUFFEE JR.,
                                                            15cv08916 (PGG) (DF)
                                Plaintiff,
                                                            SCHEDULING ORDER
                 -against-

 MR. OFFICER GONZALEZ, et al.,

                                Defendants.

DEBRA FREEMAN, United States Magistrate Judge:

         This Court having held a telephone conference on October 8, 2020, with pro se plaintiff

Hiawatha Cuffee Jr. (“Plaintiff”) and counsel for Defendants, it is hereby ORDERED, as stated

at the conference:

         1.     If he has not already done so following the October 8 conference, Plaintiff is

directed to execute (in accordance with the instructions provided to him by Defendants’ counsel

during the conference) and promptly to return to Defendants’ counsel (a) an authorization for the

release of Plaintiff’s relevant medical records from Dr. Ronald Chase, and (b) an authorization

for the release of Plaintiff’s employment records from his former employer, Pinnacle Electric;

         2.     With respect to Plaintiff’s current employers, Lincoln Tech and Hostos

Community College, Plaintiff is directed to produce to Defendants’ counsel documents sufficient

to show when he started working for each of these employers, and the amounts he is paid by

each;

         3.     Plaintiff is directed to print out all email messages that he sent to or received from

Mr. Messiah Bey relating in any way to this case, and to submit them (via the Court’s Pro Se

Office) for this Court’s in camera review. Plaintiff should specifically inform the Pro Se Office

by cover letter that the documents should be considered confidential, that they should not be
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publicly filed on the Court’s Docket, and that they are being submitted, pursuant to this Court’s

direction, for in camera review. Plaintiff is also directed to preserve all text messages that he

sent to or received from Mr. Bey, although they need not be produced or provided to the Court at

this time.

        4.     Defendants’ counsel is directed to make diligent inquiries into whether there is

any insurance agreement (including any covering the vehicle in which Plaintiff was a passenger

during the accident at issue in this case) under which an insurance business may be liable to

satisfy all or part of a possible judgment in Plaintiff’s favor in this action or to indemnify or

reimburse for payments made to satisfy a judgment, and, if any such insurance agreement is

located, to disclose it to Plaintiff as required under Rule 26(a)(i)(A)(iv) of the Federal Rules of

Civil Procedure.

        5.     Defendants’ counsel is directed to provide Plaintiff with another copy of

Defendants’ interrogatory responses that, according to counsel, were previously served, together

with another copy of the verification for those responses.

        6.     This Court will hold a follow-up, telephonic case management conference on

December 8, 2020 at 11:00 a.m. All production or submissions required by this Order shall be

made well in advance of that conference, so that any remaining discovery issues may be

addressed at that conference. Apart from the matters discussed herein, this Court considers

discovery in this action to be complete. For the December 8 conference, the parties should call

the following Toll-Free Number: (877) 411-9748, and use Access Code: 9612281.




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       7.      In light of the rulings made at the October 8 conference, as memorialized herein,

the Clerk of Court is directed to close the discovery motion filed by Defendants at Dkt. 138. The

Clerk of Court is also directed to mail a copy of this Order to Plaintiff at the address shown

below, which Plaintiff has confirmed on the record to be his correct mailing address.

Dated: New York, New York
       November 5, 2020

                                                      SO ORDERED


                                                      ______________________________
                                                      DEBRA FREEMAN
                                                      United States Magistrate Judge

Copies to:

Mr. Hiawatha Cuffee Jr.
676 East 141 Street Apt. 6D
Bronx, NY 10454

Defense counsel (via ECF)




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